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Plaintiff § mmm.uwtav,ctm on uaw
§
vs. § No. 4:05-cv-03065
§
SCONET, INC. AND MICHEL §
YAMMINE, §
§
Defendants §

DEFENDANT’S ORIGINAL ANSWER

Defendants SCONET, INC. and Michel Yamrnine file this Original Answer to Plaintiff
Anthony Sandoval’s Complaint.
A. Adrnissions and Denials

l. Defendants admit the allegations in paragraph 1.

2. Defendants admit the allegations in paragraph 2.

3. Defendants admit the allegations in paragraph 3.

4. Defendants admit that if Plaintiff is suing under the Fair Labor Standards Act that this
Court does have federal question jurisdiction and that this Court does have
supplemental jurisdiction over the state claims as alleged in paragraph 4.

5. Defendants admit the allegations in paragraph 5.

6. Defendants admit that Sconet is in the business of providing computer related

services but Plaintifi’s use of “IT Services” is vague and cannot be specifically

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10.

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22.

denied or admitted Defendants admit that Yarnmine is the President of Sconet but
denies the remaining allegations as stated in paragraph 6.

Defendants admit that Mr. Sandoval had the titles of Systems Engineer and Zone
Manager but denies the remaining allegations in paragraph 7 .

Defendants deny the allegations in paragraph 8.

Defendants admit that Mr. Sandoval signed a “Contidentiality, Non-Disclosure and
Non-Competition Agreement” but denies the rest of the allegations in paragraph 9.
Defendants deny the allegation in paragraph 10.

Defendants are Without knowledge or information sufficient to form a belief as to the
truth of paragraph ll.

Defendants deny the allegations in paragraph 12.

Defendants deny the allegation in paragraph 13.

Defendants deny the allegations in paragraph 14.

Defendants deny the allegations in paragraph 15.

Defendants deny the allegations in paragraph 16.

Defendants deny the allegations in paragraph l7.

Defendants deny the allegation in paragraph 18.

Defendants deny the allegation in paragraph l9.

Defendants deny the allegation in paragraph 20.

Defendants deny the allegations as stated in paragraph 21.

Defendants deny the allegation in paragraph 22.

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23. Defendants admit that they have expressed an intention to enforce the non-
competition and non-solicitation agreement and deny the remaining allegations in
paragraph 23.

24. Defendants deny the allegations in paragraph 24.

25. Defendants deny that Plaintiff is entitled to relief as requested in the Prayer.

B. Affirmative Defenses

26. Defendants are not liable to plaintiff because plaintiff was an independent contractor

Working in the computer field and was exempt under the Fa.ir Labor Standards Act.
C. B_raM

For these reasons, Defendants ask the Court to do the following:

a. render Judgment that Plaintiff take nothing,

b. dismiss Plaintiff s suit with prejudice,

c. assess costs against Plaintiff,

d. award Defendants’ attorney fees, and

e. award defendant all other relief to which they are entitled.

R:)Yy S%

Torn A. Dickens

Bar No. 05820800

P.O. Box 841569
Houston, TX 77284-1569
Phone: (281)855-9119
Fax: (832)263-1319

ATTORNEY IN CHARGE FOR DEFENDANTS

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CERTIFICATE OF SERVICE
I certify that a copy of the foregoing Answer was served on Leymon Solomon, The Solomon

Law Firm, PC, who is the attorney in charge for Plaintiff, whose address is 10777 Westh§mer,
Suite 1100, Houston, Texas 77042, via facsimile to 713-260-9637, on 12 " Q-~§ § .

Tom Dickens

